4/12/2021                   Case 1:21-cv-08381 Document
                                                  Trademark1-10
                                                            Status &Filed 10/12/21
                                                                    Document Retrieval Page 1 of 3

    For assistance with TSDR, email teas@uspto.gov and include your serial number, the document you are looking for,
    and a screenshot of any error messages you have received.



     STATUS           DOCUMENTS           MAINTENANCE
                                                                                                         Exhibit 10
                                                                                                     Back to Search                  Print

                   Generated on: This page was generated by TSDR on 2021-04-12 16:50:07 EDT

                             Mark: RUTHIE DAVIS




              US Serial Number: 77499484                                                         Application Filing Date: Jun. 16, 2008

     US Registration Number: 3646039                                                                   Registration Date: Jun. 30, 2009

             Filed as TEAS Plus: Yes                                                               Currently TEAS Plus: Yes

                         Register: Principal

                       Mark Type: Trademark

       TM5 Common Status                                                              LIVE/REGISTRATION/Issued and Active
              Descriptor:
                                                                                      The trademark application has been registered with the Offic



                           Status: The registration has been renewed.

                     Status Date: Jul. 31, 2018

                Publication Date: Apr. 14, 2009


    Mark Information

         Mark Literal Elements: RUTHIE DAVIS

   Standard Character Claim: Yes. The mark consists of standard characters without claim to any particular font style, size, or color.

             Mark Drawing Type: 4 - STANDARD CHARACTER MARK

      Name Portrait Consent: The name(s), portrait(s), and/or signature(s) shown in the mark identifies "Ruthie Davis", whose consent(s)


    Related Properties Information

    Claimed Ownership of US 3053617, 3175692
                   Registrations:


    Goods and Services

 Note:
 The following symbols indicate that the registrant/owner has amended the goods/services:
         Brackets [..] indicate deleted goods/services;
         Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
            Asterisks *..* identify additional (new) wording in the goods/services.
                              For: Shoes
                                                                                                                                      Privacy - Terms



https://tsdr.uspto.gov/#caseNumber=77499484&caseType=SERIAL_NO&searchType=statusSearch                                                             1/3
4/12/2021                 Case 1:21-cv-08381 Document
                                                Trademark1-10
                                                          Status &Filed 10/12/21
                                                                  Document Retrieval Page 2 of 3
        International Class(es): 025 - Primary Class                                             U.S Class(es): 022, 039

                   Class Status: ACTIVE

                          Basis: 1(a)

                       First Use: Jul. 2006                                                  Use in Commerce: Jan. 2007


    Basis Information (Case Level)

                      Filed Use: Yes                                                            Currently Use: Yes

                       Filed ITU: No                                                             Currently ITU: No

                      Filed 44D: No                                                             Currently 44E: No

                      Filed 44E: No                                                             Currently 66A: No

                      Filed 66A: No                                                         Currently No Basis: No

                 Filed No Basis: No


    Current Owner(s) Information

                   Owner Name: RADesign, Inc.

               Owner Address: 231 10th Avenue #6A
                                  New York, NEW YORK UNITED STATES 10001

             Legal Entity Type: CORPORATION                                              State or Country Where DELAWARE
                                                                                                     Organized:


    Attorney/Correspondence Information

 Attorney of Record

                 Attorney Name: Basil S. Krikelis                                              Docket Number: 99910/00007

        Attorney Primary Email bkrikelis@mccarter.com                               Attorney Email Authorized: Yes
                       Address:

 Correspondent

                 Correspondent BASIL S. KRIKELIS
                 Name/Address: MCCARTER & ENGLISH, LLP
                                  405 N. KING STREET
                                  RENAISSANCE CENTRE, 8TH FLOOR
                                  WILMINGTON, DELAWARE UNITED STATES 19801

                         Phone: (302) 984-6300                                                            Fax: (302) 984-6399

        Correspondent e-mail: bkrikelis@mccarter.com kknoll@mccarter.com                  Correspondent e-mail Yes
                                                                                                   Authorized:

 Domestic Representative - Not Found


    Prosecution History

 Date                           Description                                                             Proceeding Number

 Jul. 31, 2018                  NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
                                                                                                                           Privacy - Terms
 Jul. 31, 2018                  REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)                         74272
https://tsdr.uspto.gov/#caseNumber=77499484&caseType=SERIAL_NO&searchType=statusSearch                                                  2/3
4/12/2021               Case 1:21-cv-08381 Document
                                              Trademark1-10
                                                        Status &Filed 10/12/21
                                                                Document Retrieval Page 3 of 3
 Jul. 31, 2018                 REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED                  74272

 Jul. 31, 2018                 CASE ASSIGNED TO POST REGISTRATION PARALEGAL                         74272

 Jul. 17, 2018                 TEAS SECTION 8 & 9 RECEIVED

 Jun. 30, 2018                 COURTESY REMINDER - SEC. 8 (10-YR)/SEC. 9 E-MAILED

 May 23, 2017                  APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE)                    88888
                               ENTERED

 May 23, 2017                  TEAS CHANGE OF OWNER ADDRESS RECEIVED

 Oct. 18, 2014                 NOTICE OF ACCEPTANCE OF SEC. 8 & 15 - E-MAILED

 Oct. 18, 2014                 REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.                   70131

 Oct. 18, 2014                 CASE ASSIGNED TO POST REGISTRATION PARALEGAL                         70131

 Oct. 09, 2014                 TEAS SECTION 8 & 15 RECEIVED

 Jun. 30, 2009                 REGISTERED-PRINCIPAL REGISTER

 Apr. 14, 2009                 PUBLISHED FOR OPPOSITION

 Mar. 25, 2009                 NOTICE OF PUBLICATION

 Mar. 06, 2009                 LAW OFFICE PUBLICATION REVIEW COMPLETED                              71441

 Mar. 05, 2009                 ASSIGNED TO LIE                                                      71441

 Mar. 04, 2009                 APPROVED FOR PUB - PRINCIPAL REGISTER

 Mar. 03, 2009                 TEAS/EMAIL CORRESPONDENCE ENTERED                                    88889

 Mar. 02, 2009                 CORRESPONDENCE RECEIVED IN LAW OFFICE                                88889

 Mar. 02, 2009                 TEAS RESPONSE TO OFFICE ACTION RECEIVED

 Sep. 23, 2008                 NOTIFICATION OF NON-FINAL ACTION E-MAILED                            6325

 Sep. 23, 2008                 NON-FINAL ACTION E-MAILED                                            6325

 Sep. 23, 2008                 NON-FINAL ACTION WRITTEN                                             67512

 Sep. 22, 2008                 ASSIGNED TO EXAMINER                                                 67512

 Jun. 19, 2008                 NEW APPLICATION ENTERED IN TRAM


    TM Staff and Location Information

 TM Staff Information - None

 File Location

            Current Location: GENERIC WEB UPDATE                                         Date in Location: Jul. 31, 2018


    Assignment Abstract Of Title Information - None recorded


    Proceedings - None recorded




                                                                                                                     Privacy - Terms



https://tsdr.uspto.gov/#caseNumber=77499484&caseType=SERIAL_NO&searchType=statusSearch                                            3/3
